Case 1:21-cr-00053-CJN Document 115-5 Filed 08/03/23 Page 1 of 4




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 Case1:21-cr-00053-CJN
       1:21-cr-00327-RC Document
                         Document115-5
                                  19 Filed
                                        Filed
                                            04/13/21
                                              08/03/23Page
                                                        Page
                                                           1 of
                                                             2 of
                                                                3 4
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 Case1:21-cr-00053-CJN
       1:21-cr-00327-RC Document
                         Document115-5
                                  19 Filed
                                        Filed
                                            04/13/21
                                              08/03/23Page
                                                        Page
                                                           2 of
                                                             3 of
                                                                3 4
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 Case1:21-cr-00053-CJN
       1:21-cr-00327-RC Document
                         Document115-5
                                  19 Filed
                                        Filed
                                            04/13/21
                                              08/03/23Page
                                                        Page
                                                           3 of
                                                             4 of
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